     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 1 of 10 Page ID #:2366



1    NICOLA T. HANNA
     United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     IAN V. YANNIELLO (Cal Bar No. 265481)
4    CHRISTINE M. Ro (Cal Bar No. 285401)
     Assistant United States Attorneys
5    General Crimes Section
          1100 United States Courthouse
6         312 North Spring Street
          Los Angeles, California 90012
7         Telephone: (213) 894-3667/4496
          Facsimile: (213) 894-2927/0141
8         E-mail:    ian.yanniello@usdoj.gov
                     christine.ro@usdoj.gov
9
     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                 No. CR 17-697-SJO

14               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                               FOR DEFENDANT DANIEL FLINT
15                    v.
                                               Hearing Date: July 1, 2019
16   DANIEL FLINT,                             Hearing Time: 10:00 a.m.
                                               Location:     Courtroom of the
17               Defendant.                                  Hon. S. James Otero

18

19
20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Ian V. Yanniello and
23   Christine M. Ro, hereby files its Sentencing Position Regarding
24   Defendant Daniel Flint.
25   //
26   //
27   //
28
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 2 of 10 Page ID #:2367



1          This position is based upon the attached memorandum of points

2    and authorities, the files and records in this case, the Presentence

3    Investigation Report, and such further evidence and argument as the

4    Court may permit.

5     Dated: June 21, 2019                 Respectfully submitted,

6                                          NICOLA T. HANNA
                                           United States Attorney
7
                                           BRANDON D. FOX
8                                          Assistant United States Attorney
                                           Chief, Criminal Division
9
10                                               /s/
                                           IAN V. YANNIELLO
11                                         CHRISTINE M. RO
                                           Assistant United States Attorneys
12
                                           Attorneys for Plaintiff
13                                         UNITED STATES OF AMERICA

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28

                                               2
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 3 of 10 Page ID #:2368



1                        MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant Daniel Flint defrauded Transportation Security

4    Administration (“TSA”) officers and evaded TSA security checkpoints

5    in order to transport over $140,000 in cash to Los Angeles and

6    through the Los Angeles International Airport (“LAX”).            After a

7    three-day jury trial, the jury found defendant guilty of

8    intentionally evading airport security requirements, in violation of

9    49 U.S.C. §§ 46314(a), (b)(2).
10         The United States Probation Office (“USPO”) filed its

11   Presentence Investigation Report (“PSR”), concluding that:

12   (1) defendant’s base offense level is 4; (2) defendant’s total

13   offense level is 8; (3) defendant’s criminal history category is I;

14   and (4) defendant must pay a $100 mandatory special assessment.              (PSR

15   ¶¶ 25, 37, 46, 92.)      The USPO also noted that an upward variance may

16   be warranted given the nature and circumstances of the offense and

17   the history and characteristics of the defendant (PSR ¶ 98) and the

18   government agrees.

19         As discussed below, defendant should receive a three-level
20   upward variance for a total offense level of 11.           With a total

21   offense level of 11 and criminal history category of I, defendant’s

22   Guidelines’ range is eight to 14 months.          For the reasons outlined

23   below, the government submits that a 14-month custodial sentence,

24   three years’ supervised release, and a $100 special assessment is

25   sufficient, but not greater than necessary, to achieve the goals of

26   sentencing set forth in 18 U.S.C. § 3553(a).
27

28
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 4 of 10 Page ID #:2369



1    II.   STATEMENT OF FACTS AND RELEVANT CONDUCT
2          A.    Offense Conduct
3          On July 25, 2017, defendant entered a TSA security checkpoint at

4    Chicago Midway International Airport (“Midway”) and falsely

5    identified himself as a diplomat.        (PSR ¶ 13.)     Specifically,

6    defendant claimed he was a diplomatic courier for the “International

7    Human Rights Commission” (“IHRC”), and that he was carrying a

8    “diplomatic pouch” that was exempt from TSA screening.            (Id.)   This

9    was false.     Defendant is not and has never been a diplomat.          Nor has
10   the IHRC, a purported international organization based out of a P.O.

11   Box in Pakistan, ever been recognized by the U.S. Department of

12   State.     As a result, neither the IHRC nor defendant has ever held any

13   diplomatic privileges or immunities in the United States.

14         To facilitate his fraud, defendant presented several documents

15   to TSA officers that purportedly supported his claim of diplomatic

16   status, including a self-laminated1 identification card stating that

17   he was a “Diplomat” and “Legal Counsel & Diplomatic Courier” for the

18   IHRC, and a purported diplomatic courier letter on IHRC letterhead.

19   (PSR ¶ 14.)     Defendant attempted to further bolster his false claim
20   to diplomatic status by identifying himself as a diplomat and an

21   attorney when he first made contact with the TSA officers at Midway.

22   (Id.)     In doing so, defendant presented three forms of identification

23   to TSA officers: his Michigan driver’s license, his attorney bar card

24   issued by the Michigan State Bar, and the self-laminated IHRC card.

25

26
           1During his interview with the Federal Bureau of Investigation
27   (“FBI”) Special Agents on July 25, 2017, defendant admitted that he
     caused the purported identification document to be laminated. It is
28   unclear whether defendant also manufactured, or participated in the
     manufacturing, of the document itself.
                                        2
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 5 of 10 Page ID #:2370



1    At Midway, the TSA personnel defendant interacted with never

2    encountered a diplomat or diplomatic pouch before, and they

3    mistakenly permitted defendant to enter the secure area of the

4    airport without submitting his pouch for full security screening.

5    (Id.)

6           While defendant’s flight was en route to LAX, TSA officials at

7    Midway learned about the error and notified the FBI.            (PSR ¶ 16.)

8    FBI agents at LAX intercepted defendant when his plane landed.              (Id.)

9    Agents searched the purported diplomatic pouch and found $148,145 in
10   U.S. Currency stuffed inside “Mariano’s” and “Walmart” plastic

11   shopping bags.      (Id.)    A Drug Enforcement Administration (“DEA”)

12   drug canine positively alerted to the funds, and the cash was

13   thereafter seized by DEA.       (Id.)

14          Defendant also participated in a voluntary interview with the

15   FBI.    Defendant claimed he was transporting money for the

16   “Ambassador” of the IHRC, Robert Shumake.          (PSR ¶ 19.)     Defendant

17   also identified a lawyer he previously worked with, Douglas Hampton,

18   who defendant asserted was also a diplomat for the IHRC.            (Id.)

19   Defendant refused to answer numerous questions during the interview
20   based on a claim of attorney-client privilege between defendant and

21   Shumake.    (Id.)   FBI agents asked defendant whether he had ever been

22   rejected from an airport when he presented his IHRC diplomatic

23   credentials.     (Id.)   Defendant lied and denied that he had been

24   previously rejected from an airport when he presented his IHRC

25   diplomatic credentials and continued to assert that he was a bonafide

26   diplomat.
27

28

                                              3
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 6 of 10 Page ID #:2371



1          B.    Relevant Conduct
2                1.    Defendant Evaded Airport Security on July 20, 2017

3          On July 20, 2017, five days before the offense, defendant

4    attempted to pass through a TSA security checkpoint at Chicago O’Hare

5    International Airport (“O’Hare”) with a purported diplomatic pouch.

6    (PSR ¶¶ 7-12.)     As he did at Midway on July 25, defendant identified

7    himself as a diplomat and a lawyer, and presented TSA officials with

8    the self-laminated IHRC “diplomat” card, attorney bar card, and a

9    purported diplomatic courier letter.         (Id.)   TSA officials, however,
10   refused to let defendant enter with the unscreened bag because

11   defendant did not have a diplomatic passport, which is a required

12   identification document for the clearance of all diplomatic pouches.

13   (Id.)

14         After being rejected by O’Hare, defendant immediately booked a

15   new flight out of Midway and was at the TSA checkpoint there within

16   an hour and a half.      (Id.)   Defendant still lacked a diplomatic

17   passport, but he nonetheless convinced TSA personnel to permit him to

18   enter with the unscreened pouch.        (Id.)   Defendant did not disclose

19   to TSA officials that he had just been rejected from O’Hare because
20   he did not have adequate diplomatic credentials.           (Id.)   As with

21   Midway personnel who interacted with defendant on July 25, 2017, the

22   TSA officers who interacted with him on July 20 had limited or no

23   experience screening diplomats or diplomatic courier pouches.             (Id.)

24   Thus, defendant successfully evaded airport security and traveled to

25   Los Angeles without the bag being screened.          (Id.)

26               2.    Defendant Previously Lied About His Diplomatic Status
27         Defendant also falsely asserted that he had “diplomatic

28   immunity” to a law enforcement officer in Michigan in September 2016.

                                              4
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 7 of 10 Page ID #:2372



1    (PSR ¶ 44.)     Specifically, on September 10, 2016, a sheriff’s deputy

2    in Michigan stopped defendant’s vehicle after observing an expired

3    registration tag.        (Id.)   During the encounter, defendant identified

4    himself as an attorney who had “diplomatic immunity” from arrest and

5    prosecution.     (Id.)    Defendant also falsely stated that he was “a

6    civil rights attorney for the United States.”           Despite defendant’s

7    claim to “diplomatic immunity,” he was subsequently arrested and

8    charged with two misdemeanor counts, and pled guilty to one.2             (Id.)

9    Defendant did not mention the IHRC, or show the deputy any purported
10   diplomatic identification.

11   III. THE PSR
12         The government agrees with the USPO’s calculations set forth in

13   the PSR.    The PSR calculated defendant’s base offense level as 4

14   under USSG § 2B2.3.3       (PSR ¶ 25.)   The PSR applied a two-level

15   increase under USSG § 2B2.3(b)(A)(iv) because the trespass occurred

16   in a secure area of an airport (PSR ¶ 26) and a two-level increase

17   because defendant abused his specialized skill and status as an

18   attorney that significantly facilitated the commission or concealment

19   of the offense (PSR ¶¶ 28-30).        Defendant did not accept
20   responsibility, therefore a reduction for acceptance of

21   responsibility does not apply.        (PSR ¶¶ 34-36.)      With a total

22   offense level of 8 and criminal history category of I, defendant’s

23

24
          2 Defendant was convicted of the unlawful use of a license
25   plate, a misdemeanor, in violation of Michigan Vehicle Code Section
     257.256.
26
          3 Because the statute of conviction is not referenced in
27   Appendix A of the Sentencing Guidelines, USSG § 2X5.1 applies. See
     USSG § 2X5.1. The government concurs with the USPO that the statute
28   of conviction is most analogous to the trespass guideline in USSG
     § 2B2.3. (PSR ¶ 22-24.)
                                        5
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 8 of 10 Page ID #:2373



1    Guidelines’ range is zero to six months’ imprisonment.            (PSR ¶¶ 37,

2    46.)

3           The USPO also identified certain aggravating factors that may

4    warrant a sentence outside of the advisory guideline system.             (PSR ¶

5    98.)    Specifically, the PSR noted that: defendant and others

6    manufactured a purported diplomatic identification card (which

7    defendant admitted he laminated), a diplomatic courier pouch, and a

8    binder of documents that purported to support legitimize defendant’s

9    false claim of diplomatic status; during his FBI interview, defendant
10   stated numerous times to the FBI that he researched the relevant law;

11   and defendant sought to pass through TSA security with an unscreened

12   bag based on false representations that he was working on behalf of a

13   legitimate charitable organization.          (Id.)   These factors warrant an

14   upward variance because defendant’s conduct raises national security

15   concerns as he and others developed a scheme to exploit a weakness in

16   airport security to smuggle large amounts of cash though TSA

17   checkpoints without screening on more than one occasion.            (Id.)

18   IV.    A 14-MONTH PRISON TERM IS A REASONABLE SENTENCE
19          Given defendant’s history of repeated fraud to law enforcement
20   officials and defendant’s participation in this greater scheme to

21   exploit airport security protocols, the need for substantial

22   deterrence to have any effect on his behavior, and the significant

23   danger that defendant posed to the community by flying on a

24   commercial airline with unscreened luggage, the Court should impose

25   no less than a sentence of 14 months’ imprisonment.

26          A.   The Nature and Circumstances of Defendant’s Crimes and the
                 Need to Reflect the Seriousness of the Crimes
27

28          The government’s recommended sentence reflects the seriousness

                                              6
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 9 of 10 Page ID #:2374



1    of defendant’s criminal conduct and seeks a three-level upward

2    variance.     The sentencing guidelines range of zero to six months

3    custody does not sufficiently account for the seriousness of the

4    offense.    Therefore, a three-level upward variance is justified

5    because a custody range of 8 to 14 months better reflects the

6    seriousness of this offense.        Defendant exhibited a level of

7    sophistication that compromised the security systems of various

8    airports on more than one occasion as admitted by defendant in his

9    interview with the FBI.       And on July 25, 2018, defendant used the
10   expertise he acquired from law school, his law practice, and his

11   fraudulent schemes with Douglas Hampton and Robert Shumake to take

12   advantage of an airport that was less familiar with diplomatic

13   procedures.     Defendant used lies and his specialized skill as an

14   attorney to bypass airport security checkpoints to transport over

15   $140,000 in cash undetected and unscreened.           Defendant’s actions show

16   not only disdain for the law, but also serious disregard of the

17   safety of the hundreds of thousands of individuals who travel by air.

18   Such behavior warrants no less than a three-level upward variance and

19   a sentence of 14 months’ imprisonment.
20         B.    The Need to Promote Respect for the Law, Provide Just
                 Punishment, and Avoid Unwarranted Sentence Disparities
21

22         Similarly, defendant’s conduct at every opportunity demonstrates

23   a clear lack of respect for the law.           Whether it was to bypass an

24   airport security checkpoint or to get out of a traffic ticket,

25   defendant has shown a flagrant disregard for the law by lying to law

26   enforcement on numerous occasions.           A term of imprisonment of at
27   least 14 months is necessary to adequately promote respect for the

28   law in the manner envisioned by 18 U.S.C. § 3553(a).            It is also

                                              7
     Case 2:17-cr-00697-SJO Document 154 Filed 06/21/19 Page 10 of 10 Page ID #:2375



1     necessary to provide just punishment and avoid unwarranted sentence

2     disparities.    See 18 U.S.C. § 3553(a)(6).       Defendant’s conduct was

3     serious and is not fully captured by the Guidelines range.            The Court

4     should therefore impose a custodial sentence of 14 months’

5     imprisonment for defendant’s crime of conviction.

6           C.    Supervised Release
7           In addition to a 14 months’ sentence of imprisonment, the Court

8     should impose the maximum term of supervised release -- three years.

9     Given defendant’s tendencies to disregard the law, a three-year
10    period of supervised release is necessary in order to provide

11    defendant with oversight and supervision after his release from

12    prison.    See United States v. Johnson, 529 U.S. 53, 59 (2000)

13    (“Congress intended supervised release to assist individuals in their

14    transition to community life.”); S. Rep. No. 98-225, at 124 (1983)

15    (describing the “primary goal” of supervised release as providing

16    “rehabilitation”).

17    V.    CONCLUSION
18          For the foregoing reasons, the government respectfully requests

19    that this Court impose a sentence of: (1) 14 months’ imprisonment;
20    (2) a three-year period of supervised release; and (3) a mandatory

21    special assessment of $100.

22

23

24

25

26
27

28

                                              8
